Case 2:14-cv-03225-RGK-JC Document 92 Filed 11/04/14 Page 1 of 4 Page ID #:862



  1   Michael A. Gold (SBN 90667)
      JEFFER MANGELS BUTLER & MITCHELL, LLP
  2   1900 Avenue of the Stars, Seventh Floor
      Los Angeles, CA 90067
  3   Telephone: (310) 203-8080
      Facsimile: (310) 203-0567
  4   Email:      mgold@jmbm.com
  5   Lawrence H. Kunin, admitted PHV
      Stephen M. Vaughn, admitted PHV
  6   MORRIS, MANNING & MARTIN, LLP
      1600 Atlanta Financial Center
  7   3343 Peachtree Rd. N.E.
      Atlanta, GA 30326
  8   Telephone: (404) 233-7000
      Facsimile: (404) 365-9532
  9   Email:      lkunin@mmmlaw.com
                  svaughn@mmmlaw.com
 10
      Attorneys for Plaintiffs WATSON-MARLOW, LTD. and
 11   WATSON-MARLOW, INC.
 12
      ARDENT LAW GROUP, P.C.
 13   Hubert H. Kuo (Cal. Bar No. 204036)
      Alexander J. Chang (Cal. Bar No. 247921)
 14   2600 Michelson Dr., Ste. 1700
      Irvine, CA 92612
 15   Telephone: (949) 863-9782
      Facsimile: (949) 863-9783
 16   Email:      hkuo@ardentlawgroup.com
                  achang@ardentlawgroup.com
 17
      Attorneys for Defendants CHANGZHOU PREFLUID TECHNOLOGY
 18   CO., LTD. and PREFLUID TECHNOLOGY USA INC.
 19
 20                       UNITED STATES DISTRICT COURT
 21        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 22   WATSON-MARLOW, LTD. and               Case No. 2:14-CV-03225-RGK-JC
 23
      WATSON-MARLOW, INC.,

 24
                 Plaintiffs,                JOINT STIPULATION TO
                                            CONTINUE PRE-TRIAL SCHEDULE
 25
                 -against-

 26
      CHANGZHOU PREFLUID                    Judge:     Hon. R. Gary Klausner
      TECHNOLOGY CO., LTD.; and             Crtrm:     850
 27
      PREFLUID TECHNOLOGY USA
      INC.,
 28              Defendants.

                                            -1-
                  JOINT STIPULATION TO CONTINUE PRE-TRIAL SCHEDULE
Case 2:14-cv-03225-RGK-JC Document 92 Filed 11/04/14 Page 2 of 4 Page ID #:863



  1         Plaintiffs Watson-Marlow Ltd. and Watson-Marlow, Inc. (collectively
  2   “Plaintiffs”) and Defendants Changzhou PreFluid Technology Co., Ltd. and
  3   Prefluid Technology USA Inc. (collectively “Defendants”) (collectively “the
  4   parties”) through their attorneys of record, hereby stipulate as and request that the
  5   Court continue the pretrial schedule as follows: 1
  6         1.     GOOD FAITH REASON FOR SHORT CONTINUANCE
  7         Shortly after entry of the initial pre-trial schedule (Doc. 77), the parties
  8   initiated efforts to conduct a settlement conference before Magistrate Judge
  9   Chooljian. A primary goal in conducting an early settlement conference was to
 10   avoid the cost of litigation should a settlement conference be successful. Plaintiffs’
 11   representatives reside in England and Boston, and Defendants’ representative
 12   resides in China. The earliest available date for all parties and Judge Chooljian was
 13   November 3, 2014. In the meantime, the parties have served discovery requests and
 14   many documents have been produced.
 15         A settlement conference was held on November 3, 2014, including
 16   participation of representatives traveling from England, Boston, Atlanta, and China.
 17   Although no settlement was reached, with the assistance of Judge Chooljian, the
 18   parties made good progress in reaching a compromise. The parties, however, were
 19   unable to close a settlement due to the need for Defendants’ representative to return
 20   to China to consult with other representatives in China.
 21         There are three significant factors leading to the need to continue the trial
 22   schedule. First, given that the Plaintiffs’ representative is in England, and
 23   defendants’ representative is in China, virtually every request and response results
 24   in a delay of one or two days. Second, there are language barriers involving China,
 25   and many produced documents are in Chinese, thus slowing progress due to the
 26   need for translation. Third, a significant motivating factor behind the present
 27
      1
             Magistrate Judge Chooljian assisted in the discussions leading to this
 28
      stipulation, and suggested that the parties draft and file this stipulation.

                                                 -2-
                   JOINT STIPULATION TO CONTINUE PRE-TRIAL SCHEDULE
Case 2:14-cv-03225-RGK-JC Document 92 Filed 11/04/14 Page 3 of 4 Page ID #:864



  1   settlement proposal is the avoidance of litigation costs. Given the remaining time
  2   for discovery, if a continuance is not granted, the parties will need to increase
  3   discovery efforts and expenses immediately, thus destroying a significant
  4   motivation for settlement.
  5           Finally, it is notable that counsel for both parties have been constructive and
  6   cooperative and share in the concerns and motivations for settlement, including the
  7   need for a continuance for purposes putting time and cost into exploring settlement
  8   rather than into discovery. Magistrate Judge Chooljian will also remain involved in
  9   settlement efforts and progress.
 10           II.      PROPOSED SCHEDULE
 11           Given the above reasoning, the parties respectfully request a one month
 12   extension of all prior deadlines, resulting in the following schedule:
 13           End of Discovery:                                   January 19, 2014
 14           Dispositive Motions:                                February 2, 2014
 15           Motions in Limine:                                  March 2, 2014
 16           Plaintiffs to serve jury instructions/ special verdict form: March 10, 2014
 17           Defendants’ objections to jury instructions/special verdict form: March 17,
 18   2014.
 19           Oppositions to motions in limine:                   March 20, 2014
 20           Meet and confer regarding jury instructions:        March 24, 2014
 21           File joint jury instructions:                       April 1, 2014
 22           Pretrial conference:                                April 2, 2014
 23           Reply brief in support of motions in limine:        April 7, 2014
 24           Trial:                                              May 4, 20142
 25   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 26   2
            A one-month extension of the current schedule would result in a trial date of
 27   April 21, 2014. Defendants’ counsel has a trial scheduled that day in Orange
      County. If the Court prefers an earlier trial date, the parties request an April 14,
 28
      2014 trial date.

                                                  -3-
                       JOINT STIPULATION TO CONTINUE PRE-TRIAL SCHEDULE
Case 2:14-cv-03225-RGK-JC Document 92 Filed 11/04/14 Page 4 of 4 Page ID #:865



  1

  2

  3
      Dated: November 4, 2014      JEFFER MANGELS BUTLER &
  4
                                   MITCHELL LLP
  5

  6                          By:   /s/ MICHAEL A. GOLD
                                   Michael A. Gold
  7                                Attorneys for Plaintiffs
                                   WATSON-MARLOW LTD. and WATSON-
  8                                MARLOW, INC.
  9

 10   Dated: November 4, 2014      ARDENT LAW GROUP, P.C.
 11
                             By:   /s/ HUBERT H. KUO
 12                                Hubert H. Kuo
                                   Attorneys for Defendants
 13                                CHANGZHOU PREFLUID TECHNOLOGY CO.,
                                   LTD. and PREFLUID TECHNOLOGY USA INC.
 14

 15

 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26
 27

 28


                                           -4-
                 JOINT STIPULATION TO CONTINUE PRE-TRIAL SCHEDULE
